          Case 1:22-cr-02043-SMJ   ECF No. 19   filed 06/13/22   PageID.27 Page 1 of 2




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 4
     Attorney for Defendant
 5   Marcelo Anthony Benson

 6
 7
                        UNITED STATES DISTRICT COURT
 8                     EASTERN DISTRICT OF WASHINGTON
                         The Honorable Salvador Mendoza, Jr.
 9
10   United States of America,
11                                 Plaintiff,        No. 1:22-CR-2043-SMJ
12
             v.                                      Notice of Appearance
13
     Marcelo Anthony Benson,
14
                               Defendant.
15
16
             Please take notice that Craig D. Webster of the Federal Defenders
17
     of Eastern Washington and Idaho hereby enters his appearance as
18
19   counsel of record in this matter. All future correspondence and court
20
     filings should be forwarded directly to the address listed above.
21
     //
22
23   //
24
25

     Notice of Appearance: 1
       Case 1:22-cr-02043-SMJ   ECF No. 19   filed 06/13/22   PageID.28 Page 2 of 2




 1   Dated: June 13, 2022.
 2
 3
 4                                           By s/ Craig D. Webster
                                               Craig D. Webster, 40064
 5                                             Attorney for Marcelo Anthony
 6                                             Benson
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10
11
                                Certificate of Service
12
13         I hereby certify that on June 13, 2022, I electronically filed the
14   foregoing with the Clerk of the Court using the CM/ECF System which

15   will send notification of such filing to the following: Thomas J. Hanlon,

16   Assistant United States Attorney.

17
                                             s/ Craig D. Webster
18                                           Craig D. Webster

19
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21
22
23
24
25

     Notice of Appearance: 2
